                            UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,                    )
                                             )
               Plaintiff,                    )
       v.                                    )       Case No. 19-20052-JAR-JPO
                                             )
FENG TAO                                     )
     a/k/a “Franklin Tao,”                   )
                                             )
               Defendant.                    )


  MOTION FOR FRANKS HEARING AND TO SUPPRESS EVIDENCE RESULTING
      FROM TWO UNLAWFUL SEARCH WARRANTS OBTAINED USING
                FALSE AND MISLEADING AFFIDAVITS

       The investigation of Dr. Franklin Tao began two years ago when a former international

visiting scholar (“Government Informant”) at the University of Kansas (“KU”) tried to extort Dr.

Tao for hundreds of thousands of dollars. When he refused to pay, she created fake email

addresses, impersonated KU researchers who worked in Dr. Tao’s lab, and fed lies to the FBI

and KU, claiming that Dr. Tao was a Chinese spy who stole intellectual property and secretly

worked at a second university in China.

       Thus began an unlikely partnership between the FBI and Government Informant. The

FBI looked past Government Informant’s impersonations, false statements, and fabrications, so

that it could use her to obtain unlawful search warrants. Although Government Informant

admitted on July 9, 2019, that she had been lying to the FBI for months in order to punish Dr.

Tao over an authorship dispute, two days later the FBI presented her to the Court as a credible

informant with reliable evidence and information in order to obtain a search warrant. Absent the

FBI’s sworn misrepresentations and omissions, the Court would not have issued search warrants

on July 11, and August 19, 2019, because probable cause was plainly lacking.



                                                 1
       The evidence, laid bare below and in the exhibits attached to this memorandum, warrants

a hearing under Franks v. Delaware, 438 U.S. 154, 155–56 (1978), to determine whether

sufficient evidence actually existed to establish probable cause for the search warrants. Dr. Tao

respectfully requests that, based on the evidence here, and developed at a Franks hearing, the

Court should suppress all evidence resulting from the two unlawful warrants, including the fruits

of those warrants, which the FBI obtained without probable cause and in violation of his Fourth

Amendment rights.1

I.     BACKGROUND

       A.      Government Informant threatens to falsely report Dr. Tao as a “tech spy” if
               he does not pay her hundreds of thousands of dollars.

       Dr. Tao is a Princeton-educated and internationally renowned chemical engineering and

chemistry professor. Until being indicted for allegedly concealing a second job at a university in

China, Dr. Tao was a tenured professor with a lab and research group at KU.

       Government Informant2 obtained a Ph.D. in Chemical Engineering from a University in

Beijing, China. She worked at universities in Japan and Australia, Ex. 1, and then spent three


1
  Dr. Tao submits that good cause exists for the Court to consider this motion after the May 14,
2021, pre-trial motions deadline because the defense was only able to ferret out the full extent of
government misconduct detailed in this Motion once the government provided all of its
discovery (hundreds of thousands of documents) in a database-searchable format, which was not
until May 13, 2021, and which the defense received and loaded for searching after the May 14
deadline had passed. The defense also learned new information from the government this month
about key events detailed in this motion, including the lack of support for a material statement in
the July 11, 2019, affidavit. In addition, the development of facts for this motion, without access
to witnesses at the FBI and KU, involved a painstaking review and analysis of the evidence.
Finally, the interests of justice, the importance of Dr. Tao’s Fourth Amendment rights, and the
public’s faith in the integrity of the warrant process compel the Court’s consideration of this
motion. The defense hopes that this motion can be fully adjudicated in advance of the October
25, 2021 trial date, but understands that a continuance of trial may be necessitated by this
motion.
2
 The government has repeatedly referred to Government Informant as an “informant” during the
pendency of this case, hence the use of that term here. See, e.g., ECF No. 35 at 1–7; ECF No. 54

                                                 2
weeks as a J-1 research scholar at KU beginning in mid-October 2018. Ex. 1. She later

transferred her J-1 to the University of California, Berkeley, where she worked after her stint at

KU. Ex. 1.

       In early 2019, Government Informant complained to Dr. Tao about the amount of

authorship credit she would receive in certain publications, and demanded more credit. Ex. 2.

She threatened to retaliate if Dr. Tao did not meet her aggressive demands. Id.3 Dr. Tao agreed to

certain demands, Ex. 3, but Government Informant made new demands, and told Dr. Tao he

“should feel lucky” because Government Informant was being “merciful.” Ex. 4.

       In April 2019, the relationship became more toxic. Government Informant blamed Dr.

Tao after she lost her post-doctoral position at her home university in Australia, and she

speculated that Dr. Tao had recommended one of his KU researchers (X.Z.)4 for a position in the

lab she worked in. Ex. 5. Government Informant emailed Dr. Tao: “[W]hen anything that

belongs to me is taken away, my counterattack will be very strong and very extreme. I think that

you wanted to have this experience, so I am satisfying your wish.” Ex. 6.

       Government Informant’s behavior grew increasingly aggressive and erratic. On April 21,

2019, she demanded money for her scientific contributions and for “spiritual hurts.” Ex. 5. The




at 21–23. Government Informant’s name and email addresses have been redacted from the
attached exhibits.
3
  A native Chinese-language speaker at Arent Fox LLP has translated the Chinese characters on
the third page of Exhibit 2 as stating in part: “I don’t covet things that don’t belong to me, but
when something that belongs to me is snatched away, my counterattack may be very strong and
extreme.” The defense can submit a certified translation of this language, and certain other
untranslated exhibits, in advance of the Franks hearing if the government materially disagrees
with this translation or if the Court would prefer it.
4
  Three individuals impersonated by Government Informant are referred to herein by their
initials: X.Z., C.E.L., and L.N. The exhibits include redactions to the same effect, as well as
highlights to focus the Court on particular language in the exhibits.

                                                 3
next day, her demand escalated: “If you are no[t] sure how much you should compensate me,

I could suggest you a level. It should be in the level of millions of RMB. For example, 2

million RMB,” which is roughly $310,000. Ex. 7 (emphasis added). She repeated her demands a

few days later. Ex. 8.

       On May 2, 2019, Government Informant told Dr. Tao that she would send an email

formally accusing him of engaging in “severe academic misconducting [sic]” and “forged

authorship,” and alleged that “most of the current listed authors did not contribute[] to” a

particular article he authored. Ex. 9. The next day, Dr. Tao received an email purportedly from

Government Informant’s mother, apologizing for Government Informant’s immaturity and for

causing Dr. Tao “so much trouble” the day before. Ex. 10.5 On May 6, 2019, Government

Informant admitted to Dr. Tao that she had no evidence to support her accusations. Ex. 11.6

       Nevertheless, on June 4, 2019, Government Informant continued to harass Dr. Tao. She

reported her authorship concerns to KU (copying Dr. Tao), complaining that a corresponding

author of a publication did not “merit the authorship” status. Ex. 12. She separately emailed the

Internal Audit group at KU (again copying Dr. Tao) and alleged that “a few more papers” have

“authorship issues” that she wanted to report. Ex. 13. Her accusations found no purchase with

KU administrators. The Director of Research Integrity at KU informed Government Informant

that the allegations did not constitute research misconduct. Ex. 14.



5
 It would appear almost certain that this email was sent by Government Informant,
impersonating her own mother, given her habit of using fake email addresses.
6
  A native Chinese-language speaker at Arent Fox LLP has translated the Chinese characters in
the email at the bottom of the first page of Exhibit 11 as stating: “What I mean by email is that I
only considered it from the perspective of the author’s change (no actual evidence). I can’t
determine the amount of each author’s contribution.” Government Informant then stated in
English: “I will be terribly sorry if all the other authors had made contributions and their
contributions could match their authorship.” Ex. 11.

                                                 4
       One June 6, 2019, Government Informant made clear her attempt to extort Dr. Tao: “I

know that the issue with the tenure in the United States cannot be solved even if I hadn’t reported

you about your byline being incorrect.” Ex. 15. She then escalated her threats: “[I]t seems that

the term ‘tech spy’ is very popular nowadays.” Id. (emphasis added).

       As Government Informant knew, then–Attorney General Jeff Sessions had recently

announced an initiative to “combat Chinese economic espionage.”7 While her authorship

allegations failed to have the desired effect, she knew that she would get the attention of KU and

the FBI if she accused Dr. Tao of espionage and intellectual property theft. In fact, one month

earlier, Government Informant had already embarked upon a scheme to enlist the FBI and KU in

her efforts to frame Dr. Tao and exact revenge upon him. See Ex. 16.

       B.      Government Informant creates fake email addresses, impersonates witnesses
               from Dr. Tao’s lab, and files false reports about Dr. Tao with the FBI and
               KU, alleging espionage, IP theft, and other misconduct.

       On April 30, 2019, Government Informant submitted an anonymous report to KU that

alleged “Espionage,” based on “Internet exploration,” and claimed that Dr. Tao was a spy based

on links to two websites included in the report. Ex. 17. Carl Taylor, KU’s Director of Global

Operations and Security, forwarded the report to the FBI, as he would continue to do with most

or all other reports that KU received regarding Dr. Tao. Id. KU traced the IP address of the

submission to San Francisco International Airport, 18 miles from the University of California,

Berkeley, where Government Informant lived, and forwarded that information to the FBI. Ex. 18.

       On May 10, 2019, Government Informant used a fake email address to impersonate X.Z.,

the former KU student and researcher who Government Informant believed Dr. Tao had


7
 See Press Release, Attorney General Jeff Sessions Announces New Initiative to Combat
Chinese Economic Espionage, DOJ, Nov. 1, 2018, https://www.justice.gov/opa/speech/attorney-
general-jeff-sessions-announces-new-initiative-combat-chinese-economic-espionage.

                                                5
recommended to replace her at her university in Australia. Ex. 19. Using the fake email address,

Government Informant emailed the KU Chancellor and Dr. Tao’s department chair, alleging that

Dr. Tao “is taking another full time and full salary Professor position in China.” Ex. 19.

Government Informant alleged that the position began in May 2018, and listed websites to

support her account. Id. She added: “[D]ue to the current relationship between USA and China, I

know the USA government is taking actions to the scholars who take both positions in USA

and China.” Id. (emphasis added). Government Informant also stated that she “wrote

anonymous emails” to KU about Dr. Tao days earlier. Id. This would not be the last time

Government Informant would use a fake email address to impersonate a witness.

       On May 12, 2019, Government Informant again impersonated X.Z., and sent an email to

the FBI from the fake X.Z. email address with the subject: “Franklin (Feng) Tao in the

University of Kansas is taking a Changjiang Professorship in China. He may be a scientific

espionage [sic].” Ex. 16 (emphasis added). Government Informant again included links to

websites that she said supported her accusations, and stated: “I believe you have good ways to

handle it.” Id. Special Agent Stephen Lampe of the FBI thanked Government Informant, stating

that her “assistance in this matter is greatly appreciated!” Id.8

       On May 13, 2019, Government Informant again impersonated X.Z. and made similar

reports to KU Human Resources. Ex. 20. She added: “[D]ue to the current relationship between

USA and China, I know the USA government is taking actions to the scholars who take both

positions in USA and China. … I believe you have good ways to handle it.” Id.




8
  Government Informant stated in her email that she “also submitted a tip in the website.” Ex. 16.
The defense is unaware of any such tip to the FBI, dated prior to May 12, 2019, being produced
in discovery, despite our requests and contention that it constitutes Brady material.

                                                   6
        In a follow-up email on May 14, 2019, Government Informant accidentally revealed her

true identity by sending an email to KU Human Resources from the fake X.Z. email address, but

signing her real name. Ex. 21. Government Informant attached a purported unsigned

employment contract between Dr. Tao and Fuzhou University, and alleged that it is “exactly the

same as the signed contract, except there [are] no signatures.” Id. The document

properties/metadata (easily viewed by clicking the “File” dropdown menu) showed that the

document had been created on the same day (May 14, 2019), strongly suggesting that the

unsigned contract was inauthentic and that Government Informant had created the document

herself the same day that she provided it to KU Human Resources. Id. KU provided the email

and contract to the FBI. Ex. 21.

       On May 15, 2019, Government Informant again used the fake X.Z. email address to

contact KU Security Director Carl Taylor, and sent links to additional social media websites that

she claimed supported her accusations about Dr. Tao. Ex. 22. Taylor forwarded the email to the

FBI. Id. The next day, Taylor responded by thanking Government Informant for her information,

and asking for a call or meeting to clarify a few items, including why she was “providing [KU]

with the information on Professor Tao.” Ex. 23. Government Informant responded, but deleted

the email with Taylor’s question from the chain, and stated that she did “not have evidence at

this moment” to support her allegation that Dr. Tao was forming a company in China, but stated

that she “believe[d] it will come true in 2-3 years.” Ex. 23. She added that all of her information

“is authentic and true.” Id. Taylor forwarded this email to the FBI. Id.




                                                 7
       On May 19, 2019, KU Security Director Taylor received another anonymous accusation,

this time from an “@guerrillamail.com” account,9 repeating substantially the same allegations

that Government Informant had made over the past month while impersonating X.Z. Ex. 24. Like

the other accusations, the email provided a link to a website to support the allegations against Dr.

Tao. Id. The sender stated: “I am afraid this behaviours violet [sic] the rules/laws of KU or

USA.” Id. Taylor forwarded to the FBI the email and the complete IP information in the header

of the email, and Special Agent Carlson responded: “This is great. I’ll give it to [Special Agent

Steve] Lampe.” Id. KU’s Chief Information Security Officer observed that the email header even

included the “X-Originating-IP in it,” which “never happens anymore,” allowing them to trace

the email to the original location from which it was sent: a guest wireless network at the

University of California, Berkeley, the university to which Government Informant had

transferred months earlier. Id. Taylor said he found that information to be “interesting.” Id.

Government Informant had failed to mask her location.

       Around this time, if not earlier, the FBI and KU appear to have both independently

determined that Government Informant was impersonating X.Z. and also submitting anonymous

accusations about Dr. Tao. Not only had Government Informant signed an email from the fake

X.Z. email address with her real name on May 14, 2019, Ex. 21, but the anonymous accusations

came from an IP address traced to Berkeley, Ex. 24, where Government Informant was known to

live, and to an airport 18 miles from there, Ex. 18. This is clear from an exchange between KU

and the FBI on May 19 and 20, 2019, detailed below.




9
  Guerrilla Mail markets itself as an anonymous email service that provides a disposable
temporary email address: “Don’t want to give them your real email? Use a temporary email. No
registration, lasts 60 mins.” www.guerillamail.com.

                                                 8
        After receiving the May 19, 2019 anonymous report, KU Security Director Taylor sent a

text message to Special Agent Jeffery Carlson of the FBI, stating: “A possible different source

emailed me. I sent a copy to you.” Ex. 25. Minutes later, however, Taylor reported that he

thought the anonymous sender was Government Informant: “Actually rereading the message. I

think it is the same source, \n\n.” Id.10 Special Agent Carlson agreed: “Ok. I just read it. Sounds

similar for sure. If it is another source, this is interesting to say the least” Id.

        On May 20, 2019, KU Security Director Taylor texted FBI Special Agent Carlson: “Got

the scrapes on our latest chucklehead. Think we have a solid lead on the Source.” Id.11 Special

Agent Carlson responded: “I think we think we know who it is too.” Id. Taylor and Carlson

agreed to meet the next day. Id. While the defense has no direct evidence of what was discussed

during that meeting, it seems clear that the topic was Government Informant, as that same day

Taylor asked International Support Services at KU for “all the information you have on

[Government Informant].” Ex. 26. He received a response indicating that earlier that year,

Government Informant had arranged to transfer to the University of California, Berkeley, where

the anonymous reports had originated. Id. This confirmed that Government Informant had not

only impersonated X.Z., but also submitted the two anonymous reports that KU and the FBI

knew came from Berkeley, California, and the airport 18 miles away. Exs. 18, 24.




10
  The “\n\n” notation in the text message appears to be a redaction by the FBI. That begs the
question whom KU Security Director Taylor had indicated the source was at that time—whether
he named Government Informant in the text message or one of the individuals Government
Informant had been impersonating.
11
  KU Security Director Taylor’s reference to “scrapes” likely refers to an internal collection and
review of KU emails, including Dr. Tao’s email. It is unknown to the defense if Taylor had by
then discovered Government Informant’s many demands to Dr. Tao over the authorship dispute,
which would have further confirmed her motive to frame him.

                                                     9
       On May 26, 2019, Government Informant emailed KU Security Director Taylor using a

second fake email address, this time impersonating “C.E.L.,”12 with the subject: “Concerning

Feng Tao.” Ex. 27. She said that she is “happy to assist if [she] could,” and signed the email with

X.Z.’s first name, likely on accident. Id. The signature indicated that Government Informant,

who had previously impersonated X.Z., was now also impersonating C.E.L. The new fake C.E.L.

email address could now be tied to all of the prior reports and accusations against Dr. Tao.

Taylor forwarded the email to the FBI. Id. Taylor also sent a text message to Special Agent

Carlson, stating: “Just got contacted again. Different email address using name beginning with

[X.Z.]. Something really odd occurred.” Ex. 25.

       On May 30, 2019, Taylor asked Government Informant (who was posing as C.E.L.)

whether she was aware of situations when Dr. Tao had shared KU or sponsored research with

anyone at Fuzhou University (where he had allegedly taken a second job), and Government

Informant said no, despite having previously accused Dr. Tao of intellectual property theft. Ex.

28. The “evidence” she did provide, however, was substantially similar to past emails sent when

she impersonated X.Z. Ex. 29. Taylor forwarded the email to the FBI, remarking “Nothing new.”

Id. On May 31, 2019, Government Informant (posing as C.E.L.) followed up her email by asking

“what will Prof. Tao be facing” as a result of her reports. Ex. 30. Taylor responded that he does

“not make decisions on these matters,” and thanked her for her assistance. Id. Taylor forwarded

the email to the FBI. Id.

       On June 3, 2019, Government Informant again used the fake C.E.L. email address to

email KU Security Director Taylor, and stated that she “checked the funded researches of Prof.


12
  Between May 26 and 28, 2019, Extortionist Source used the same false email address for
“C.E.L.” in emails to Dr. Tao, claiming that she was a recent graduate of the California Institute
of Technology, and asking Dr. Tao scientific questions regarding a past publication. Ex. 31.

                                                10
Tao by NSF and DOE,” and alleged that “[t]here are similarity and overlap between the

proposals he submitted to the Chinese government and the ones in US.” Ex. 32.13 Taylor

forwarded the email to the FBI. Id.

       On June 9, 2019, just three days after threatening to falsely report Dr. Tao for espionage

if he did not pay her hundreds of thousands of dollars, Government Informant impersonated a

third person: L.N., a researcher who currently worked in Dr. Tao’s lab at KU. This time,

Government Informant submitted an online tip to the FBI National Tip Operations Center. Ex.

33. The tip included L.N.’s date of birth and other identifying details, and claimed “Alleged

Espionage by University of Kansas Professor, Giving Intellectual Property to China.” Id. The tip

also alleged that Dr. Tao “is conducting scientific espionage activities.” Id. Although L.N.

currently worked at KU and lived in Kansas, the IP address of the submitter could (once again)

be traced back to Berkeley, California, where the FBI and KU had by now determined that

Government Informant resided. Id. And the tip included links to websites previously sent to KU

and the FBI by Government Informant. Id. This confirmed that Government Informant had

stolen at least three identities to accuse Dr. Tao of espionage and other misconduct, in addition to

the anonymous reports she had filed.

       On or about June 12, 2019, in response to a grand jury subpoena, KU produced a copy of

Government Informant’s June 6, 2019 email to Dr. Tao, in which she threatened to falsely accuse

him of espionage. Ex. 15. It is unknown to the defense when the government became aware of

this extortion email, but the government had actual or constructive knowledge of the email

shortly after June 12, 2019.



13
   Government Informant also stated that she “contacted NSF and DOE for further information.”
Ex. 32. The defense is not aware of any such communications being produced by the government
in discovery, despite, to the extent they exist, this constituting Brady material.

                                                11
       On June 23, 2019, Government Informant, now using her real name, emailed Dr. Tao’s

department chair and stated that Dr. Tao “not only works for KU, but also works for the Chinese

government.” Ex. 34. She provided no evidence to support her accusation. Id. KU Security

Director Taylor forwarded the email to the FBI. Id.

       In total, KU and the FBI had received accusations against Dr. Tao purporting to be from

four different individuals, including herself, and at least two anonymous reports—all of which,

the FBI knew, were actually from Government Informant.

       C.      Government Informant admits to feeding the FBI lies, impersonating three
               witnesses to file false reports about Dr. Tao, and hacking his email to obtain
               the unsigned employment contract.

       On July 9, 2019, Government Informant met in person with FBI Special Agent Jeffery

Carlson and Special Agent Angie Ng at the University of California, Berkeley. Ex. 35.14

       What transpired during the interview remains unknown to the defense, and can only

partly be gleaned from an incomplete FBI FD-302 interview summary “entered” into the FBI

system months after the interview occurred (and after Dr. Tao was indicted and pled not guilty).

Id. According to the FBI’s FD-302 from the interview, Government Informant said that she and

Dr. Tao had a disagreement over the authorship of an academic paper, because she refused to

state that she was affiliated with KU in her by-line. Id. She said that Dr. Tao was a Changjiang

Scholar, and claimed that she obtained the purported unsigned employment contract with Fuzhou

University in China (sent to KU from the fake X.Z. email address) from Dr. Tao’s secretary, who

gave it to her during a trip to Fuzhou University in February or March of 2019. Id. Government




14
  It is unknown to the defense what communications, if any, the FBI had with Government
Informant in the weeks before the interview, including to arrange the interview. If they do exist,
the defense is not aware of any such communications being produced.

                                                12
Informant also said that she had personally created an email address in order to recruit

researchers to Fuzhou University for Dr. Tao. Id.

       Remarkably, the interview summary contains no information about whether the FBI

confronted Government Informant about her past impersonations, fake email addresses, and

other lies, or how she responded (including whether she falsely denied it). This is surprising,

because by the time of the July 9, 2019 interview, the FBI knew that Government Informant had

impersonated X.Z., C.E.L., and L.N., and had submitted other anonymous accusations against

Dr. Tao, which were traced back to Berkeley, California, where the July 9 interview occurred.15

Thus, either the FBI chose not to confront Government Informant about her multiple

impersonations, fake email addresses, and false statements to the FBI – or it asked her but

deliberately omitted this discussion from its FD-302. It is also unknown to the defense, and

unclear from the FD-302, whether the FBI asked Government Informant about her attempts to

extort Dr. Tao. The government has produced no contemporaneous notes or other records from

the interview, and represented to the defense on August 19, 2021, that none exist, even though

the government has produced notes from most other FBI interviews and recorded a subsequent

interview with Government Informant. While a Franks hearing will aid in determining exactly

what happened at the interview, it seems highly likely that the FBI confronted Government

Informant about her impersonations and fake email addresses during the interview, and omitted it

from the FD-302 finalized two months later to avoid creating a record of the confrontation and




15
  Indeed, a person who identified as X.Z.—not Government Informant—had provided the
unsigned contract to KU and the FBI. Thus, it seems inconceivable that the FBI failed to ask
Government Informant about X.Z. and the unsigned contract given that it had already determined
that she impersonated X.Z.

                                                13
Government Informant’s continued deception—especially given the revealing email the FBI

received after the interview.

       Hours after the interview, on July 9, 2019, Government Informant emailed the FBI: “For

the talk today, I have to admit that I lied on some of the items.” Ex. 36 (emphasis added).

She confessed that she “reported [her accusations against Dr. Tao] using the name of others, such

as [X.Z.], [L.N.] or [C.E.L.], via email or reported to FBI directly.” Id. This strongly suggests

that the FBI confronted her about these impersonations and fake email addresses during the

interview, and that she falsely denied impersonating the three witnesses, but the FBI deliberately

omitted this Brady material from the FD-302.16 She also admitted that she had hacked Dr. Tao’s

email account to obtain the unsigned contract, stating: “For the contract of Franklin, I

downloaded it from his email address. Last year, he asked me to write proposals to apply to

Chinese government. The account and password proposal submission are the same as his email

in Fuzhou University. Sometimes I log his email address and check some information.” Id. She

stated that she would “accept any penalty for [her] wrongdoings,” and that she was “sorry,” and

also asked the government to stop investigating Dr. Tao. Id. Special Agent Carlson thanked

Government Informant for her help. Id.

       The next day, on July 10, 2019, Government Informant sent another email to the FBI and

reiterated that she would “accept the penalty for [her] wrongdoings,” and again asked that the

FBI “stop the checking to Franklin.” Id. She also told the FBI she planned to leave the country at




16
  This would also explain why Government Informant’s July 9 email notes that she
“communicated with [X.Z.] sometimes last year.” Ex. 36. Unless this remark is apropos of
nothing, the topic of X.Z. must have come up at the July 9 interview, likely after the FBI
confronted Government Informant about impersonating X.Z.

                                                 14
the end of the month. Id. Despite her admitted lies to the FBI, the FBI did not arrest her or

prevent her from leaving the country.

       D.      Special Agent Lampe uses Government Informant to obtain the July 11, 2019
               Google search warrant, but fails to inform the Court about her lies and
               fabrications, and misrepresents how she claimed she obtained the unsigned
               employment contract.

       On July 11, 2019, FBI Special Agent Lampe submitted a sworn affidavit to Chief U.S.

Magistrate Judge James P. O’Hara, in support of an application for a warrant to search Dr. Tao’s

personal Gmail account. Ex. 37.

       The affidavit claimed that there was probable cause to believe that Dr. Tao’s Gmail

account had evidence that he committed program fraud and wire fraud, based on “evidence” that

Dr. Tao had secretly taken a second job at Fuzhou University in China without telling KU or two

federal agencies. This “evidence” consisted almost entirely of Government Informant’s claims

and the unsigned employment contract she provided to the FBI while impersonating others. Id.

       Special Agent Lampe’s July 11, 2019 affidavit asserted:

               [B]oth KU and the FBI have received a series of complaints
               regarding Tao, both anonymously and from an individual
               claiming to be a former post-doctoral student sponsored by
               Tao to study in the United States ([Government Informant]). The
               sum and substance of the complaints were that Dr. Tao had taken a
               Changjiang Professor position in China, which [Government
               Informant] explained was a talent program sponsored by the
               Chinese government. According to [Government Informant], Tao
               took that position in May of 2018. … [Government Informant] also
               provided what appears to be an unsigned … contract between Tao
               and Fuzhou (FU) in China. The contract is titled “Changjiang
               Scholar Distinguished Professor Employment Contract.” The
               appointment of the contract was from May 1, 2018, to April 30,
               2023. Notably, the start date listed in this contract is before Tao’s
               September 2018 statement to KU that he did not have any outside
               employment. Pursuant to the contract, Tao is to be a full-time
               employee of FU ….

Id. ¶ 11 (bold emphases added).


                                                 15
       As to the provenance of the unsigned contract, Special Agent Lampe stated in a footnote:

“[Government Informant] later told agents that she obtained the unsigned contract by accessing

Tao’s email account, with Tao’s permission and at Tao’s direction, but that she provided it to

KU and to the FBI because she was angry with Tao over not crediting her on a published

research article.” Id. ¶ 11 n.2 (emphasis added). The affidavit then described the content of the

contract, and explained that “[o]pen source reporting, some of which was provided by

[Government Informant] as well as anonymously, corroborates many of the above-described

complaints.” Id. ¶ 12 (emphasis added). Special Agent Lampe admitted, however, that he had

“no information or knowledge concerning the accuracy of these websites or articles beyond the

fact that” they were found on the Internet. Id. The affidavit contained none of the details

regarding Government Informant’s repeated lies to the FBI and KU designed to exact revenge

upon Dr. Tao.

        The affidavit contained at least eight knowing, intentional, or reckless misrepresentations

and omissions, all of which were material.

       First, Special Agent Lampe failed to inform the Court that Government Informant—the

sole source of the evidence and information used to show probable cause—had already admitted

to repeatedly impersonating multiple individuals from Dr. Tao’s research group at KU by

creating fake email addresses to submit accusations to the FBI and KU. Government Informant

had obviously appropriated other names to enhance the credibility of her accusations. This

showed a willingness by Government Informant to use deceptive means to concoct evidence and

lie to the FBI and KU, and to bait the government into investigating and charging Dr. Tao. This

information undermined the reliability of all of the evidence and information that Government

Informant provided to the FBI, and which the FBI now presented, whitewashed, to the Court.



                                                16
       Second, Special Agent Lampe concealed from the Court that Government Informant had

admitted—in writing—to lying to the FBI about Dr. Tao just two days earlier. Not only had she

admitted to impersonating three individuals, but she admitted that she lied to the FBI about

where she obtained the unsigned contract. At first she told the FBI that she obtained the unsigned

contract from Dr. Tao’s secretary, and later that day she recanted and told the FBI that she had

actually obtained it by hacking into Dr. Tao’s email account. Government Informant’s admitted

lie about where the contract came from meant that neither of her explanations was reliable. Her

inability to explain how she obtained a private contract to which she was not a party, moreover,

suggested that she may have fabricated it to support her scheme. And even if her second

explanation were true, her willingness to hack into an email account to steal a contract further

undermined her credibility. Government Informant’s admission, if presented to the Court, would

have demonstrated Government Informant’s unreliability and willingness to lie to inculpate Dr.

Tao, undermining her credibility and the authenticity and reliability of the unsigned contract.

       Third, Special Agent Lampe falsely told the Court that Government Informant said she

obtained the unsigned contract by accessing Dr. Tao’s email account with his “permission” and

at his “direction.” Ex. 37. As noted above, this concealed from the Court that Government

Informant had in fact admitted (in writing) to hacking Dr. Tao’s email to obtain the unsigned

contract.17 But this misrepresentation also made it seem as though Dr. Tao had given

Government Informant the username and password to his email account, creating the false



17
   Special Agent Lampe’s second affidavit confirmed that the statement in the first affidavit was
false. In the August 19 affidavit, Special Agent Lampe stated in a footnote that Government
Informant admitted “she hadn’t been truthful earlier and that she had downloaded the contract
from Tao’s email account after Tao gave her the password for another account,” and that he
“suspect[ed] she obtained it by hacking into Tao’s email account.” Ex. 38 ¶ 11 n.2. This second
affidavit did not disclose, however, that the first affidavit had misrepresented this fact.

                                                17
impression that they had a close relationship and that he trusted her as a confidante, making her

information seem more credible than it was. When the defense asked the government whether

there was a basis for Special Agent Lampe’s statement, the government provided none in its

August 19, 2021 response, apparently confirming that the statement was knowingly false. Had

Special Agent Lampe been truthful about how Government Informant claimed she obtained the

unsigned contract, it would have further undermined the authenticity and reliability of the

unsigned contract, as well as the credibility of Government Informant and her claims.

       Fourth, Special Agent Lampe concealed from the Court that the unsigned contract

provided by Government Informant had easy-to-see document properties (metadata) showing

that the document was created the same day that Government Informant emailed it. This strongly

suggested that Government Informant had fabricated the contract, especially given her admitted

deception and willingness to create fake email addresses and evidence to inculpate Dr. Tao—

which the FBI also failed to disclose to the Court.

       Fifth, Special Agent Lampe’s affidavit misleadingly stated that the FBI had received

reports about Dr. Tao from Government Informant and anonymous reports. This lent credence to

Government Informant’s reports, which found support from an anonymous whistleblower. In

reality, the FBI knew that the anonymous reports came from Government Informant, as part of a

scheme to bolster her other false reports. Rather than being candid with the Court, Special Agent

Lampe (like Government Informant) used the bogus reports to bolster Government Informant’s

claims. If the Court had known that Government Informant submitted the anonymous reports, it

would have undermined her claims and showed her willingness to use deception to inculpate Dr.

Tao.




                                                18
       Sixth, Special Agent Lampe concealed from the Court that Government Informant had

also accused Dr. Tao of espionage and intellectual property theft—accusations for which

Government Informant had no basis or evidence, as the FBI knew. Had the Court been aware

that Government Informant made obviously false accusations about Dr. Tao, it would have

undermined her credibility as to her other accusations about Dr. Tao taking a second job at

Fuzhou University, as well as the reliability of the unsigned contract she provided.

       Seventh, in an effort to further bolster Government Informant’s claims, Special Agent

Lampe pointed to three websites that he claimed “corroborate[d]” Government Informant’s

claims, and stated that “some” were provided by Government Informant or anonymously. Ex. 37

¶ 12 (emphasis added). In fact, all three websites that Special Agent Lampe pointed to came from

Government Informant.18 Had the Court been aware of this—and given Special Agent Lampe’s

admission that he had “no information or knowledge concerning the accuracy” of the websites—

the Court would not have had a basis to conclude that the websites were authentic or that their

hearsay was reliable. Indeed, the FBI already knew that Government Informant was willing to

create fake email addresses and other evidence to inculpate Dr. Tao, so there was no reason to

think the websites were authentic and reliable. She easily could have created them, too. But

Special Agent Lampe’s affidavit deliberately gave the false impression that the FBI had

discovered some of the identified websites on its own. Of course, evidence provided by

Government Informant could not “corroborate” her own claims.




18
  Government Informant sent a link to the gaokeyan.com and sohu.com websites to KU on May
15, 2019, which KU sent to the FBI. Ex. 24. Government Informant sent a link to the
fuzhou.quexiaodaquan.com website to KU on April 30, 2019, which KU sent to the FBI. Ex. 17.
Government Informant also sent the link directly to the FBI on May 12, 2019. Ex. 16.

                                                19
       Eighth, to the extent the FBI was aware that Government Informant had tried to extort

Dr. Tao for hundreds of thousands of dollars, and had threatened to falsely report him as a “tech

spy” if he did not comply, the FBI concealed from the Court that crucial information. The FBI

appears to have obtained the June 6, 2019 extortion email from KU more than a month earlier,

around June 12, 2019—a month before submitting the first affidavit on July 11, 2019. Had the

FBI informed the Court that Government Informant was using the FBI to actively extort Dr. Tao

(an ongoing crime) while also admittedly lying to the FBI about Dr. Tao (also a crime), it would

have undermined her credibility and the reliability of her evidence, including the unsigned

contract.19

       Rather than inform the Court that the FBI’s sole source was a serial liar bent on

destroying Dr. Tao, the FBI chose complicity, and partnered with her. The FBI deliberately

whitewashed and misrepresented her evidence in the July 11, 2019, affidavit. Had the Court been

aware of the truth, it would not have found probable cause to issue the July 11, 2019, search

warrant. But the FBI concealed this information to obtain the warrant.20

       On July 11, 2019, based on Special Agent Lampe’s false and misleading affidavit, the

Court issued a warrant to search Dr. Tao’s personal Gmail account. Ex. 40. On July 26, 2019,

Google produced a vast trove of Dr. Tao’s emails in compliance with the unlawful warrant. Ex.

39; Ex. 40 at 2.




19
  If the government possessed, but did not know about, the extortion email as of July 11, this
was due to its own failing. The government should have reviewed the evidence in its possession
about Government Informant before presenting her evidence to the Court.
20
  If the FBI had been truthful about any of the above eight misrepresentations or omissions, it
would have invited questions from the Court, potentially leading to disclosure of the full extent
of her lies, fabrications, and crimes. The FBI therefore chose the absolutist approach and
disclosed nothing.

                                                20
       E.      Special Agent Lampe repeats his false and misleading statements in an
               affidavit to the Court in order to obtain the August 19, 2019 search warrant.

       On August 19, 2019, Special Agent Lampe submitted a second affidavit in support of an

application for a search warrant to search three premises, computers at the premises, and

additional Google account information. Ex. 38.

       Special Agent Lampe repeated the same misrepresentations, with one exception. He now

admitted that Government Informant had lied about the provenance of the unsigned contract,

explaining in a footnote:

               She told agents in person that Tao’s secretary had given it to her.
               In an email to agents later that same day, she said she hadn’t been
               truthful earlier and that she had downloaded the contract from
               Tao’s email account after Tao gave her the password for another
               account and asked her to assist him in writing grant submissions –
               she used the same password to access Tao’s email. At this time I
               am unsure how she obtained the contract, but I suspect she
               obtained it by hacking into Tao’s email account (prior to any
               contact with agents). She also stated that she provided the contract
               to KU and to the FBI because she was angry with Tao over not
               crediting her on a published research article, which I have no
               reason to doubt.

Id. ¶ 11 n.2. But Special Agent Lampe did not admit that he had misrepresented these facts in

order to obtain the July 11, 2019, affidavit.21 Nor did he state the date when Government

Informant admitted to hacking into Dr. Tao’s email. This gave the false impression that the hack

was new information and not information that the FBI already had when it falsely stated in its

July 11 affidavit that Government Informant said she obtained the unsigned contract with Dr.

Tao’s permission (which she never stated). Id.




21
  This was deliberate, as evidenced by the fact that Special Agent Lampe did correct a minor
mistake in his first affidavit and identified it for the Court in the August 19 affidavit. See Ex. 38
¶ 16 n.7.

                                                  21
       Special Agent Lampe used the documents that he received as a result of the July 11,

2019, Google search warrant—all of which were tainted—to obtain the August 19, 2019

warrant.22 See Ex. 41. The government indicted Dr. Tao on August 21, 2019, also using the

tainted evidence from the unlawful July 11, 2019 warrant. All evidence from these two search

warrants must therefore be suppressed.

II.    ARGUMENT

       A.      The Court should order a Franks hearing, and should suppress the fruits of
               the July 11 and August 19, 2019 search warrants.

       The FBI’s knowingly false and misleading July 11, and August 19, 2019 affidavits led

the Court to issue search warrants without probable cause. The FBI made material

misrepresentations and omissions in the affidavits by concealing that Government Informant had

admitted to impersonating witnesses and using fake email addresses, fabricating evidence,

hacking Dr. Tao’s email, and lying to the FBI, and the FBI also affirmatively misrepresented

evidence it presented to the Court. Had the FBI truthfully represented this information, the Court

would not have issued the warrants, because probable cause was plainly lacking. The Court

should therefore order a Franks hearings, and should suppress all fruits of the unlawful warrants,

which were obtained in violation of Dr. Tao’s Fourth Amendment rights.




22
  Although Google produced a copy of Government Informant’s extortion email to the
government on July 26, 2019, Special Agent Lampe again omitted information about
Government Informant’s extortion attempt from the affidavit. Together with KU’s earlier
production of the email from Dr. Tao’s KU account in mid-July, the government had two
separate copies of the extortion email as of August 19, 2019.

                                                22
               1.      A defendant who makes a substantial showing that a search warrant
                       affidavit contained an intentional or reckless misstatement or
                       omission that is material is entitled to a Franks hearing.

       Under Franks v. Delaware, 438 U.S. 154 (1978), the government violates a defendant’s

Fourth Amendment rights where “(1) an officer’s affidavit supporting a search warrant

application contains a reckless misstatement or omission that (2) is material because, but for it,

the warrant could not have lawfully issued.” United States v. Herrera, 782 F.3d 571, 573 (10th

Cir. 2015) (citing Franks, 438 U.S. at 155–56).

       “If a defendant makes a ‘substantial preliminary showing’ that both of these elements

exist, he is entitled to an evidentiary hearing to prove a Franks violation.” United States v.

Moses, 965 F.3d 1106, 1110 (10th Cir. 2020); accord Herrera, 782 F.3d at 573 (citing Franks,

438 U.S. at 171).23 “If the defendant establishes at the evidentiary hearing by a preponderance of

the evidence that the false statement was included in the affidavit by the affiant ‘knowingly and

intentionally, or with reckless disregard for the truth,’ and the false statement was ‘necessary to

the finding of probable cause,’ then the Supreme Court has ruled that ‘the search warrant must be

voided and the fruits of the search excluded to the same extent as if probable cause was lacking

on the face of the affidavit.’” United States v. Kennedy, 131 F.3d 1371, 1376 (10th Cir. 1997).

       In applying the two-prong test from Franks, the court “court must strike any intentional,

knowing, or reckless misstatements in the warrant application affidavit and assess the affidavit


23
   Even absent such a showing, the Tenth Circuit authorizes courts to grant a Franks hearing “in
order to ensure not only that justice is done but that justice is seen to be done.” Herrera, 782
F.3d at 573–74. As then-Judge Gorsuch explained: “Whether because of intuition born of
experience that a meritorious issue may lurk in an imperfectly drawn application, or simply out
of a jealous wish to guard individual rights against governmental intrusions, judges sometimes
allow a claimant a fuller hearing than the law demands. In a democratic legal order built on the
promise of due process and the vindication of individual rights that’s often thought laudable or at
least generally permissible ….” Id. Here, a Franks hearing is mandatory, since Dr. Tao easily
satisfies the two elements entitling him to such a hearing.

                                                  23
without them.” Herrera, 782 F.3d at 575. In the case of “intentional, knowing, or reckless

omissions, a court must add in the omitted facts and assess the affidavit in that light.” Id.; accord

United States v. Moses, 965 F.3d at 1113 (“In examining whether the excluded information

would have been material, we consider whether the affidavit, had it included the omitted

information, still would have supported probable cause and thereby justified a warrant.”). The

court must then “ask whether a warrant would have issued in a but-for world where the attesting

officer faithfully represented the facts. … If not, a Fourth Amendment violation has occurred and

the question turns to remedy.” Herrera, 782 F.3d at 575.

        An informant’s credibility is critical to determining whether probable cause exists based

on the informant’s evidence or information. This is why the Supreme Court in Franks held that

“[i]f an informant’s tip is the source of information, the affidavit must recite some of the

underlying circumstances from which the informant concluded that relevant evidence might be

discovered, and some of the underlying circumstances from which the officer concluded that the

informant … was credible or his information reliable.” 438 U.S. at 165; see also United States v.

Jacobs, 986 F.2d 1231, 1234–35 (8th Cir. 1993) (stating that “officers had a duty to provide the

magistrate judge with any information which would undercut the warrant’s validity”).

“[R]eliability is ‘key’ to a magistrate’s probable cause analysis when the search warrant

application contains information provided by an informant.” United States v. Lull, 824 F.3d 109,

116 (4th Cir. 2016). “When the information forming the basis for probable cause comes from an

informant, the informant's ‘veracity’ and ‘reliability’ are critical.” Id. at 118; cf. United States v.

Jones, 533 F. App’x 562, 568 (6th Cir. 2013) (observing that “the omission of known

information regarding credibility can in some cases be misleading enough to be deemed a

falsehood under Franks”).



                                                   24
       For example, in United States v. Lull, the Fourth Circuit reversed a defendant’s

conviction because the search warrant affidavit failed to disclose that the informant had been

dishonest with the officers in connection with a controlled narcotics buy. 824 F.3d at 112–13.

Police officers gave the informant money to execute the buy with a suspected drug dealer, but

then determined that the informant had stolen $20 of the excess funds. The district court ordered

a Franks hearing due to the omission of this information from the affidavit, but denied the

motion to suppress. Id. The Fourth Circuit reversed, explaining that the officer was at least

reckless because he omitted from the affidavit that “[t]he informant demonstrated that he was

unreliable during the course of th[e] very transaction” used to establish probable cause. Id. at

116. “The trustworthiness of the confidential informant lies at the heart of the reliability

determination,” the court explained, “and so the relevance of this information should have been

obvious.” Id. The court also found that the omission was material to the probable cause

determination because “[m]uch of the information included in [the] affidavit came solely from

the informant,” and the omissions “prevented a neutral magistrate from being able to accurately

assess the reliability and the veracity, and thus the significance, of the informant’s statements.”

Id. at 118, 120. The court thus vacated the defendant’s convictions. Id. at 120.

       Applying these principles here, Dr. Tao is entitled to a Franks hearing.

               2.      Special Agent Lampe’s July 11, and August 19, 2019 search warrants
                       contained intentional or reckless misrepresentations and omissions
                       that were material, warranting a Franks hearing.

       Dr. Tao easily satisfies both prerequisites for a Franks hearing, because (1) the

misrepresentations and omissions in Special Agent Lampe’s July 11, and August 19, 2019,

search warrant affidavits were intentional, or at least reckless; and (2) they were material,

because the Court would not have found probable cause if it had known the truth about



                                                 25
Government Informant and the evidence and information she provided. Dr. Tao has therefore

made a substantial showing entitling him to a Franks hearing.

       First, as demonstrated above, Special Agent Lampe made at least eight knowing,

intentional, or reckless misstatements or omissions in the July 11, and August 19, 2019,

affidavits about Government Informant and the evidence and information she provided.

       Specifically, Special Agent Lampe’s affidavits: (1) concealed that Government Informant

had admitted to impersonating witnesses to bolster her accusations, including by creating fake

email addresses; (2) concealed that Government Informant had admitted to lying to the FBI

about Dr. Tao just two days earlier, including about how and where she obtained the unsigned

employment contract; (3) falsely stated that Government Informant indicated that she obtained

the unsigned contract by accessing Dr. Tao’s email account with his “permission” and at his

“direction,” when she had actually claimed that she hacked it after misrepresenting that she

obtained it from his secretary;24 (4) concealed from the Court that the unsigned employment

contract showed document properties (metadata) indicating that it was created the same day that

Government Informant provided it, strongly suggesting that she had fabricated it; (5) falsely

indicated that the FBI had received reports from Government Informant and anonymous sources

about Dr. Tao, when Special Agent Lampe knew that the anonymous reports had also come from

Government Informant, further diminishing her credibility; (6) concealed that Government

Informant had accused Dr. Tao of espionage and intellectual property theft, without any evidence

or basis; (7) falsely claimed that only some of the websites that purportedly corroborated

Government Informant’s claims came from Government Informant, when in fact all three of


24
  Only the July 11, 2019, affidavit contained this false statement. The August 19, 2019, affidavit
acknowledged that Government Informant likely hacked Dr. Tao’s email to obtain he unsigned
contract, but did not acknowledge that this was falsely represented in the July 11 affidavit.

                                                26
them came from Government Informant, and they therefore had no corroborative effect; and (8)

concealed from the Court that Government Informant had been actively extorting Dr. Tao for

hundreds of thousands of dollars with the threat of falsely accusing him of being a Chinese spy if

he did not pay, of which the FBI had actual or constructive knowledge.25

       The misrepresentations and omissions in Special Agent Lampe’s affidavit were not just

reckless—they were deliberate. Special Agent Lampe knew the truth about Government

Informant, her past identity theft and fake email addresses, false statements to the FBI and KU,

hacking, and other fabrications at the time he presented his affidavit to the Court, but he

deliberately chose to misrepresent and conceal these facts because he knew no reasonable

magistrate judge would find probable based on Government Informant’s evidence and

information. See Lull, 824 F.3d at 117 (“One way of establishing reckless disregard is by

proffering evidence that a police officer failed to inform the judicial officer of facts [he] knew

would negate probable cause.” (internal quotation marks omitted)); Jacobs, 986 F.2d at 1234–35

(“[T]he omission occurred at least with reckless disregard of its effect upon the affidavit. … Any

reasonable person would have known that this was the kind of thing the judge would wish to

know.”). In this respect, Government Informant was far less credible than the informant in Lull,

who had simply stolen $20 but had not admitted to repeatedly lying about the defendant and

fabricating evidence in order to exact revenge upon him. 824 F.3d at 112–13. In fact, the defense

has found no case involving a probable cause determination based on an informant less credible

than Government Informant.




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  Whether the FBI had actual, or only constructive, knowledge can be determined during the
Franks hearing.

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       Second, these misrepresentations and omissions, especially taken together, were plainly

material. The July 11, 2019, search warrant was based almost entirely on Government

Informant’s evidence and information, including her accusations against Dr. Tao, as well as the

unsigned employment contract she provided to the FBI. If the Court had been aware that

Government Informant was an admitted liar who had fabricated evidence and information,

impersonated witnesses, created fake email accounts, hacked emails, falsely accused Dr. Tao of

being a spy to extort him, and repeatedly lied to the FBI in order to inculpate Dr. Tao as part of a

revenge scheme, the Court never would have found probable cause to issue the warrant. So, too,

with the August 19, 2019 warrant. That warrant mirrored the July 11 warrant except that it was

bolstered by the tainted evidence obtained from the unlawful July 11, 2019 warrant.

       Simply put, evidence from an admitted fabricator bent on destroying a foe do not create

probable cause. The FBI knew this, so it hid the truth from the Court, ultimately violating Dr.

Tao’s Fourth Amendment rights.

       Based on the foregoing, Dr. Tao easily satisfies the two-part test required to obtain a

Franks hearing, and the Court should therefore order such a hearing and permit Dr. Tao to

further prove that the government violated in his Fourth Amendment rights in obtaining the July

11, and August 19, 2019 search warrants.

III.   CONCLUSION

       While questions about the government’s misconduct remain unanswered, requiring a

Franks hearing, this much is clear: Government Informant admitted that she had repeatedly lied

to the FBI and KU, fabricated evidence, impersonated witnesses, used fake email addresses,

falsely accused Dr. Tao of espionage and intellectual property theft, and hacked his email—a

litany of federal crimes aimed at punishing Dr. Tao over an authorship dispute. Not only did the

government fail to prosecute Government Informant for her admitted offenses, it then went

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further and actively concealed her crimes. It falsely presented her to the Court as a credible

informant with reliable evidence, and even affirmatively misrepresented her evidence, in order to

obtain evidence against Dr. Tao in violation of Dr. Tao’s Fourth Amendment rights.

       Because Dr. Tao has made a substantial showing that the government intentionally or

recklessly made material misrepresentations and omissions in the July 11, and August 19, 2019,

search warrant affidavits, the Court should order a Franks hearing so that Dr. Tao can further

prove that the fruits of those warrants must be suppressed.



Dated: August 23, 2021                                Respectfully submitted,

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                                                 29
                               CERTIFICATE OF SERVICE

      I hereby certify that on this 23rd day of August, 2021, I electronically filed the foregoing

motion and memorandum with the Clerk of the Court using the CM/ECF system.


                                                    /s/ Thomas H. Johnson
                                                    Thomas H. Johnson




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